Case 4:23-cv-01175-O        Document 130      Filed 11/18/24       Page 1 of 2       PageID 3205



                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

 X CORP.,                                      §
                                               §
           Plaintiff,                          §
                                               §
 v.                                            §     Civil Action No. 4:23-cv-01175-O
                                               §
 MEDIA MATTERS FOR AMERICA, et                 §
 al.,                                          §
                                               §
           Defendants.                         §



                                           ORDER


          Before the Court is Plaintiff’s Unopposed Motion to Amend the Scheduling Order (the

“Motion”) (ECF No . 128), filed November 14, 2024. After consideration of the Motion, and

because of the good cause shown therein, the Court finds that the Motion should be GRANTED.

Accordingly, the Court ORDERS that the following Schedule shall govern the above captioned

matter:

 Completion of Fact Discovery                      December 31, 2024 June 30, 2025

 Initial Expert Designation & Report               January 14, 2025 July 11, 2025

 Responsive Expert Designation & Report            January 28, 2025 July 25, 2025

 Rebuttal Expert Designation                       February 7, 2025 August 4, 2025

 Dispositive Motions                               December 9, 2024 June 9, 2025

 Mediation                                         November 27, 2024 May 26, 2025

 Pretrial Disclosures and Objections               February 26, 2025 August 25, 2025
                                                   Objections due 7 days thereafter

 Expert Objections                                 March 3, 2025 September 2, 2025
Case 4:23-cv-01175-O            Document 130             Filed 11/18/24      Page 2 of 2    PageID 3206



    Pretrial Materials (pretrial order, witness lists,     March 13, 2025 September 9, 2025
    and exhibit lists)

    Jury Charge 1                                          March 3, 2025 August 29, 2025

    Motions in Limine2                                     March 10, 2025 September 8, 2025

    Exchange of Exhibits                                   March 24, 2025 September 22, 2025

    Settlement Conference 3                                March 24, 2025 September 22, 2025

    Pretrial Conference                                    To be set if necessary.

    Trial Date                                             April 7, 2025 October 6, 2025, or the Court’s
                                                           convenience



          SO ORDERED on this 18th day of November, 2024.



                                                          _____________________________________
                                                          Reed O’Connor
                                                          UNITED STATES DISTRICT JUDGE




1
  All deadlines surrounding the jury charge (as described in the January 22, 2024 Scheduling
Order) are adjusted accordingly based on the revised deadline for filing the Agreed Charge with
Court on August 29, 2025.
2
  Responses to motions in limine (as limited by the January 22, 2024 Scheduling Order) are due
within fourteen days of the filing of such a motion.
3
  The Joint Settlement Report (as described in the January 22, 2024 Scheduling Order) SHALL
be jointly filed no later than two days after the settlement conference.
